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                   EXHIBIT B
       Case 4:22-cv-02934-YGR Document 1-2 Filed 05/18/22 Page 2 of 4




 1 ARTHUR J. CASEY [SBN 123273]
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 2 16450 Los Gatos Blvd., Suite 110
   Los Gatos, CA 95032
 3 Tel: (408) 660-3102
   Fax: (408) 660-3105
 4 Email: acasey@fwhb.com

 5 Attorneys for Defendant
   COSTCO WHOLESALE CORPORATION
 6 erroneously sued herein as “Costco Wholesale
   Corporation dba Costco Business Center”
 7

 8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                   COUNTY OF ALAMEDA
10

11 TROY JOHNSTON,                                     Case No. 22CV009653

12                    Plaintiff,
                                                      NOTICE TO PLAINTIFF OF REMOVAL
13         vs.                                        OF ACTION TO FEDERAL COURT

14 COSTCO WHOLESALE CORPORATION
   dba COSTCO BUSINESS CENTER; DOES 1
15 to 10,

16                    Defendants.

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     NOTICE TO PLAINTIFF OF REMOVAL OF ACTION TO FEDERAL COURT              Case No. 22CV009653
       Case 4:22-cv-02934-YGR Document 1-2 Filed 05/18/22 Page 3 of 4




 1 TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

 2         PLEASE TAKE NOTICE that, on May 18, 2021, a Notice of Removal of this civil action

 3 was filed by defendant Costco Wholesale Corporation, by and through its counsel of record, in the

 4 United States District Court for the Northern District of California, Oakland Division, pursuant to

 5 28 U.S.C. §§ 1332, 1441 & 1446. A copy of said Notice of Removal is attached hereto and

 6 incorporated herein by reference.

 7

 8 Dated: May 18, 2022                                FORD, WALKER, HAGGERTY & BEHAR, LLP

 9
10
                                                      By:
11                                                          ARTHUR J. CASEY
                                                      Attorneys for Defendant
12                                                    COSTCO WHOLESALE CORPORATION
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     NOTICE TO PLAINTIFF OF REMOVAL OF ACTION TO FEDERAL COURT                       Case No. 22CV009653
       Case 4:22-cv-02934-YGR Document 1-2 Filed 05/18/22 Page 4 of 4




 1                                       PROOF OF SERVICE
                               Johnston v. Costco Wholesale Corporation
 2                            Case No.: 22CV009653 – County of Alameda

 3          I, Yolanda Singletary, declare:

 4         I am over the age of eighteen (18) years and not a party to the within entitled action. I am
   employed by Ford, Walker, Haggerty & Behar, LLP. I am readily familiar with Ford, Walker,
 5 Haggerty & Behar, LLP practice for collection and processing of documents for delivery by way
   of the service indicated below.
 6
           On MAY 18, 2022, I served the following document:
 7
           NOTICE TO PLAINTIFF OF REMOVAL TO ACTION TO FEDERAL COURT
 8
   on the interested party(ies) in this action as follows:
 9
           Leonard S. Becker                               Attorney for Plaintiff TROY JOHNSTON
10         Jacquelyn A. Ruiz
           Law Offices of Leonard S. Becker, APC           Tel: (510) 886-1996
11         1728 B Street                                   Fax: (510) 538-8089
           Hayward, CA 94541                               Email: lbecker@lsbeckerlaw.com
12

13          BY ELECTRONIC SERVICE. I caused the document(s) to be sent from email address
   ysingletary@fwhb.com to the persons at the electronic notification addresses shown above. I did
14 not receive, within a reasonable time after the transmission, any electronic message or other
   indication that the transmission was unsuccessful.
15
           I declare under penalty of perjury under the laws of the State of California that the
16 foregoing is true and correct.

17          Executed on MAY 18, 2022, at Los Gatos, California.
18

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20
                                                      Yolanda Singletary
21
                                                       Yolanda Singletary
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     NOTICE TO PLAINTIFF OF REMOVAL OF ACTION TO FEDERAL COURT                        Case No. 22CV009653
